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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  EASTERN DIVISION

JAMES BROWN, M.D.,
an Iowa Individual,                                  CASE NO. 3:21-cv-00065

           Plaintiff,
                                               AMENDED COMPLAINT FOR:
vs.
                                                 1) FIRST AMENDMENT
MARC LINDER,                                        RETALIATION (42 U.S.C. §
an Iowa Individual, in his individual and           1983)
official capacities,
                                                 2) COMMON LAW DEFAMATION
           Defendant.                               BY IMPLICATION

                                                 3) COMMON LAW DEFAMATION
                                                    PER SE

                                                 4) COMMON LAW DEFAMATION

                                                 5) COMMON LAW FALSE LIGHT
                                                    INVASION OF PRIVACY

                                                 6) INUNCTIVE RELIEF


                                                       (JURY DEMANDED)



      TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

Pursuant to Federal Rule of Civil Procedure 15(a)(1)(B), Plaintiff James Brown, M.D.

(hereafter “Dr. Brown”), files this Amended Complaint and, demanding trial by jury,

complains and alleges as follows:

                         PARTIES, JURISDICTION, AND VENUE

      1.       At all times material hereto, Plaintiff James Brown, M.D. ( “Dr. Brown”)

was a citizen of Johnson County, Iowa.


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        2.    At all material times hereto, upon information and belief, Defendant

Marc Linder ( “Linder”) was a citizen of Iowa.

        3.    All acts alleged in this Amended Complaint occurred in Johnson County,

Iowa.

        4.    Defendant Linder removed this case from the Iowa District Court for

Johnson County to this Court pursuant to 28 U.S.C. § 1441(c) and § 1446.

        5.    Venue is proper pursuant to 28 U.S.C. § 1441(a) because this is the

“district and division embracing the place where such an action is pending,” and

pursuant to     28 U.S.C. § 1391(b) and (c) because, on information and belief, a

substantial part of the events or omissions giving rise to these claims occurred in this

judicial district and has caused damage to Dr. Brown in this district and Defendant

Linder is subject to personal jurisdiction in this judicial district.

                                         FACTS

        6.    The First Amendment of the United States Constitution, as made

applicable to the State of Iowa by the Due Process Clause of the Fourteenth

Amendment, prohibits government officials from subjecting an individual to

retaliatory actions for engaging in protected speech.

        7.    At all material times hereto, Dr. Brown was a board-certified urologist

at the University of Iowa Hospitals and Clinics (UIHC).

        8.    At all material times hereto, Defendant Linder was employed by the

State of Iowa as a Professor of Law at the University of Iowa College of Law.

        9.    At all material times hereto, Defendant Linder was acting within the

scope of his employment with the State of Iowa.

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      10.    At all material times hereto, Defendant Linder was acting under color

of law, custom, and/or usage of the State of Iowa.

      11.    Dr. Brown has been a practicing urologist for over 20 years.

      12.    Dr. Brown is a recognized expert in the medical field of urology.

      13.    Defendant Linder is not a medical doctor.

      14.    Defendant Linder is not a board-certified urologist.

      15.    Defendant Linder is not a recognized expert in the medical field of

urology.

      16.    Dr. Brown was asked by Swift Pork Company (“Swift”) to provide

testimony and a report in the case brought by the Labor Commissioner against Swift

based on his knowledge of the medical literature and data, and his own training and

experience regarding normal adult urination.

      17.    As a result of his expertise, Dr. Brown was qualified to offer expert

opinions pertaining to adult urination.

      18.    Statements made by Dr. Brown in his testimony were limited to medical

evidence regarding normal adult urination, including the frequency with which the

normal adult urinates, the amount of time a normal adult can be expected to wait

once they feel the urge to urinate, the conditions that might cause a person to urinate

more or less frequently or that might affect a person’s wait time.

      19.    Dr. Brown provided testimony on whether Swift’s policies on restroom

breaks exposed employees to potential adverse health effects based on the medical

evidence he offered.



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      20.    Dr. Brown made it clear while he testified under oath that his testimony

was “limited to medical issues” and that he had not been asked to opine on whether

the Occupational Safety and Health Administration (OSHA) standard on bathroom

breaks had been violated or whether the Labor Commissioner’s interpretation of the

standard was appropriate.

      21.    Dr. Brown testified truthfully in the Swift case.

      22.    Dr. Brown testified under oath in the Swift case.

      23.    The day before the hearing on the Swift case was set to begin, Defendant

Linder registered a verbal complaint against Dr. Brown with Dr. Karl Kreder, the

head of the Department of Urology at UIHC.

      24.    In a series of emails that followed, Defendant Linder alleged that Dr.

Brown had a conflict of interest due to, among other things, Dr. Brown’s “self-

confessed money-driven report, deposition, and hearing testimony on behalf of an

Iowa (and Federal) OSHA-cited employer, which is trying to invalidate OSHA’s

enforcement of employees’ right to use the toilet at work when they need to do so.”

      25.    This accusation by Defendant Linder was false.

      26.    Defendant Linder had no role in the Swift case; nevertheless, Defendant

Linder showed up at Dr. Brown’s deposition and stood in the hallway, and Defendant

Linder attended the hearing during Dr. Brown’s testimony, wearing a t-shirt that

said, “People Over Profits.”

      27.    The issue in the Swift case was whether Swift’s restroom use policy, as

written and applied, placed reasonable restrictions on employee access to restrooms

consistent with the OSHA sanitation standard in 29 CFR 1910.141(c)(1).

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      28.    At the hearing, the administrative law judge (ALJ) qualified Dr. Brown

as an expert witness on all matters relating to urology.

      29.    The Labor Commissioner did not object to Dr. Brown serving as an

expert witness and stipulated to his qualifications as an expert in urology.

      30.    Dr. Brown was one of nineteen witnesses.

      31.    Dr. Brown expressly testified that he had no opinion on whether the

OSHA standard at issue had been violated by Swift.

      32.    Dr. Brown expressly testified that he had no opinion as to whether or

not OSHA’s interpretation of the standard was appropriate.

      33.    Dr. Brown expressly testified that his work in the case was limited to

medical issues.

      34.    The ALJ issued a decision in favor of Swift finding that Swift’s

implementation of its restroom use policy did not unreasonably restrict employee

access to restrooms and that the Labor Commissioner failed to establish a violation

under OSHA’s sanitation standard in 29 CFR 1910.141(c)(1) occurred.

      35.    The Employment Appeal Board affirmed the ALJ’s decision on February

16, 2018.

      36.    Dr. Brown’s sworn testimony in the Swift legal proceeding is protected

speech.

      37.    Dr. Brown’s sworn testimony involved a matter of public concern.

      38.    As a result of Dr. Brown’s participation in protected speech, including

by providing truthful testimony in a legal proceeding, Defendant Linder took adverse

action against Dr. Brown.

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      39.    Defendant Linder’s adverse action included continuous, prolonged

repeated, and multi-faceted retaliatory vendetta against Dr. Brown.

      40.    In addition, in a front-page article published by the Waterloo-Cedar

Falls Courier and Cedar Rapids Gazette on Sunday, July 28, 2019, Defendant Linder

made false statements concerning Dr. Brown, including that Dr. Brown “testif[ied]

about a standard that affects 100 million people,” and, as such, “could have unleashed

or helped to unleash terrible consequences for workers of Iowa.”

      41.    The July 28, 2019 articles identify Defendant Linder as “Marc Linder, a

UI law professor whose focus is on labor law.”

      42.    Defendant’s statement is false in its implication that Dr. Brown testified

about the OSHA standard requiring employers to provide prompt access to bathroom

facilities (that could have unleashed terrible consequences for 100 million workers)

when Defendant Linder knows that Dr. Brown expressly testified that he had no

opinion on whether the OSHA standard at issue had been violated by Swift, had no

opinion as to whether or not OSHA’s interpretation of the standard was appropriate,

and that Dr. Brown’s work in the case was limited to medical issues.

      43.    In addition, on June 25, 2020, Defendant Linder published an article in

The Daily Iowan attacking Dr. Brown.

      44.    The Daily Iowan is a student-run independent newspaper of the

University of Iowa.

      45.    The June 25, 2020 article in The Daily Iowan identifies Defendant

Linder in his capacity as an employee of the State, stating, “Marc Linder, UI Professor

of Law.”

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       46.    In view of, inter alia, Defendant Linder’s front-page July 28, 2019 article

and Defendant Linder’s prior retaliatory conduct directed at Dr. Brown, it was clear

to any reasonable reader that Defendant Linder was referring to Dr. Brown in the

June 25, 2020 article.

       47.    In the June 25, 2020 article, Defendant Linder wrote that Dr. Brown

violated an “unambiguous[]” law on ethics and conflicts of interest for state employees

who testify as expert witnesses.

       48.    Defendant's statement is false in its implication that physicians like Dr.

Brown who testify truthfully are unethical and have a conflict of interest when called

to testify as an expert by a party against whom the State of Iowa is a party in an

adversarial proceeding when Defendant Linder knows that providing truthful

testimony based on one’s expertise is not illegal or unethical.

       49.    Defendant Linder’s publication omits critical facts, including that he

had previously been informed by UI College of Medicine Dean Dr. J. Brooks Jackson

that “with respect to conflicts of interest, I checked with Dr. Brown and our COI

compliance office, and Dr. Brown is currently in compliance with University policies

specifically with respect to conflict of interest.”

       50.    Further, in the June 25, 2020 article, Defendant Linder refers to Dr.

Brown as a “University of Iowa Hospitals & Clinics physician” who “had never even

published a single scholarly article on urinary incontinence frequency/urgency.”

       51.    Defendant’s statement is false in its implication that Dr. Brown was not

qualified to testify as an expert in the Swift case when Defendant knows that Dr.

Brown is a board-certified urologist, Dr. Brown had practiced in the field of urology

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for over 20 years, Dr. Brown’s qualifications were not challenged by any party in the

proceeding, Dr. Brown’s opinions were admitted into evidence without objection, and

the ALJ found Dr. Brown’s opinions credible and reliable—a fact demonstrated by

the reliance upon which the ALJ placed on Dr. Brown’s testimony.

      52.     Defendant Linder’s statement omits critical facts, including that Dr.

Brown is a board-certified urologist, that at the time of the adversarial proceeding

Dr. Brown had been a practicing urologist for over 20 years, and that Dr. Brown’s

opinions were based on a review of relevant literature and his own training and

experience.

      53.     In the June 25, 2020 article, Defendant Linder also characterizes Dr.

Brown as a “hired gun for private-profit making defendants in cases prosecuted by

state agencies.”

      54.     Defendant’s statement is false in its implication that Dr. Brown is an

expert is willing to deceive factfinders by testifying to whatever expert opinion that

advances the hiring attorney’s case theory when Defendant knows Dr. Brown’s

opinions were (1) limited in scope, (2) based on Dr. Brown’s training and experience,

(3) formed after a review of relevant literature, (4) were not challenged by any party,

and (5) were determined to be reliable by the ALJ in rendering its decision.

      55.     Defendant Linder has made additional retaliatory statements that

falsely declare by implication and otherwise that Dr. Brown is unethical, Dr. Brown

lacks the qualifications necessary to testify as an expert in urology, Dr. Brown

subordinated ethics for his own financial gain, and falsely characterizing Dr. Brown’s

testimony in the Swift case, including but in no way limited to the following:

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            a. Dr. Brown wanted “to make America Great Again by helping his

               customer, JBS”;

            b. Dr. Brown wanted to make “workers urinate less and kill animals more”

            c. Stating by implication that Dr. Brown provided false testimony for his

               own financial gain, stating “Maybe that view wasn’t his at all, but

               merely the only one that JBS would pay him $500/$600 an hour to

               propagate, and his need to pay his kids’ college tuition might have had

               him ‘peddling’ a different view on OSHA’s side of the VERSUS”; and

               “Just as Brown’s customer, JBS, hired a law firm from Virginia to

               represent it against Iowa OSHA, it was free to hire another non-expert

               urologist or an expert urologist from anywhere in the United States to

               be its expert witness on frequency/urgency—if, that is, any other

               urologist had been willing to subordinate her or his medical ethics to

               JBS/Swift’s litigation defense needs.”

      56.      Defendant Linder used his position as a professor of law at the

University of Iowa to retaliate against Dr. Brown.

      57.      Defendant Linder used his position as a professor of law at the

University of Iowa to convince others that his statements of and concerning Dr.

Brown were credible, true, correct, and factual.

      58.      Defendant Linder possessed state authority and purported to act under

that authority when he retaliated against Dr. Brown.




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      59.    When Defendant Linder retaliated against Dr. Brown, he did not

present himself merely a concerned professional or any other respected member of

the community, but rather as a person acting under color of law.

      60.    Defendant Linder used the instrumentalities and resources of the State

of Iowa to facilitate his retaliatory conduct.

      61.    Defendant Linder was compensated by the State of Iowa for his role in

engaging in the retaliatory conduct to the extent the conduct was performed within

the scope of his employment with the State of Iowa.

      62.    Defendant Linder used the prestige of his official position with the

University of Iowa to gain credibility with his audience.

      63.    Defendant Linder used his official position with the University of Iowa

to retaliate against Dr. Brown because he believed his position would carry more

weight with those to whom he wrote and spoke, than if he were speaking merely in

his personal capacity.

      64.    Defendant Linder cloaked his retaliatory conduct under color of law.

      65.    Defendant Linder disseminated retaliatory information in which he

identified himself in the capacity of his employment with the State of Iowa.

      66.    Defendant Linder brought to bear his influence as a professor at the

University of Iowa on those to whom he wrote and spoke concerning Dr. Brown.

      67.    Defendant Linder used his official tenure status to shield himself from

the consequences of his retaliatory conduct against Dr. Brown within the University

of Iowa.



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        68.    Defendant Linder used his position with the State of Iowa to retaliate

against Dr. Brown and damage Dr. Brown and such retaliation and damage included

a retaliation in which Defendant Linder embarked on a campaign to discredit Dr.

Brown and convince others Dr. Brown was not professionally and ethically qualified,

which was false.

        69.    Defendant Linder retaliatory use of his employment with the State of

Iowa     was    especially   concerning   because   of   the   likelihood   of   creating

interdepartmental conflict within the medical school and law school at the University

of Iowa.

        70.    Defendant Linder’s retaliatory conduct was intended to, and did in fact,

chill Dr. Brown’s freedom of expression and speech protected by the United States

Constitution.

        71.    Defendant Linder’s retaliatory conduct would chill a reasonable person

ordinary firmness from exercising his or her rights protected by the First Amendment

of the United States Constitution.

        72.    Defendant Linder’s retaliatory conduct was so severe and pervasive that

concern was expressed within the University of Iowa College of Medicine about Dr.

Brown’s personal safety in view of Defendant Linder’s retaliatory conduct.

        73.    Dr. Kreder, for example, told Dr. Brown that, based on Defendant’s

Linder’s retaliatory comments and conduct directed at Dr. Brown, Dr. Kreder was

concerned for Dr. Brown’s personal safety.




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      74.       Dr. Kreder voiced his concerns for Dr. Brown’s personal safety, asked

Dr. Brown if he owned a firearm, and discussed with Dr. Brown measures to enhance

Dr. Brown’s personal safety.

      75.       Dr. Brown purchased a firearm for personal protection.

      76.       Dr. Kreder also recommended that Dr. Brown seek legal counsel and

take legal action in view of Defendant Linder’s conduct.

      77.       Dr. Brown asked for a background check to be performed on Defendant

Linder.

      78.       Defendant Linder’s retaliatory conduct was so severe and pervasive that

a University of Iowa attorney familiar with the situation stated to Dr. Brown that

Defendant Linder “is harassing the shit out of you [Dr. Brown]” and, like Dr. Kreder,

recommended that Dr. Brown hire an attorney.

      79.       Defendant Linder’s retaliatory conduct was so severe and pervasive that

Dr. Brown’s spouse repetitively voiced concerns about her personal safety and the

personal safety of Dr. Brown and their children, particularly the two children living

in Iowa City.

      80.       Dr. Brown’s children have asked what Defendant Linder looks like and

were very upset and troubled with Defendant Linder’s conduct.

      81.       Defendant Linder’s retaliatory conduct was so severe and pervasive that

Dr. Brown’s spouse felt unsafe and purchased a dog for protection.

      82.       Defendant Linder’s conduct was repeated and continuous.




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      83.      Defendant Linder’s retaliatory conduct caused Dr. Brown and his family

to suffer severe emotional and psychological distress, which manifested into physical

injury.

      84.      The statements were harmful to Dr. Brown’s professional reputation.

                                       COUNT I
                               42 U.S.C. SECTION 1983
                         FIRST AMENDMENT RETALIATION
                        (Against Defendant Linder, Individually)

      85.      Dr. Brown repleads all allegations asserted in all paragraphs as if fully

set forth herein.

      86.      Dr. Brown’s sworn testimony in a legal proceeding is protected speech

under the First Amendment to the United States Constitution as made applicable to

the State of Iowa by the Due Process Clause of the Fourteenth Amendment.

      87.      Defendant Linder, in his individual and official capacities while acting

within the scope of his employment with the State of Iowa, took adverse action

against Dr. Brown for his participation in speech, and such retaliation included but

is not limited to the following:

            a. Harassment of Dr. Brown;

            b. Making multiple false statements directly and by implication of and

               concerning Dr. Brown to one or more third-persons concerning Dr.

               Brown’s medical expertise, qualifications to testify as an expert in

               urology, ethics, professional abilities, and testimony in the Swift case;

            c. Making multiple misleading statements directly and by implication of

               and concerning Dr. Brown to one or more third-persons concerning Dr.


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               Brown’s medical expertise, qualifications to testify as an expert in

               urology, ethics, professional abilities, and testimony in the Swift case;

               and

            d. Making multiple other statements of and concerning Dr. Brown to one

               or more third-persons that were intended to deter Dr. Brown from

               engaging in protected free speech, including but not limited to testifying

               truthfully under oath in a legal proceeding.

      88.      Defendant Linder’s retaliatory conduct would chill a person or ordinary

firmness from exercising his or her free speech rights.

      89.      Dr. Brown’s sworn testimony in the Swift matter was a substantial and

motivating factor behind Defendant Lindor’s adverse and retaliatory conduct.

      90.      Defendant Linder’s conduct was done in retaliation for Dr. Brown’s

engagement in protected speech.

      91.      Defendant Linder’s retaliatory conduct was the proximate cause of the

damages sustained by Dr. Brown, including but not limited to economic damages,

including lost profits and wages; severe emotional and psychological distress, which

manifested into physical injury; and harm to Dr. Brown’s professional reputation.

      92.      Defendant    Linder’s   false    statements   were   made   intentionally,

maliciously, and with reckless disregard of Dr. Brown’s rights.

      WHEREFORE, Dr. Brown prays for judgment against the Defendant in an

amount which will fully and fairly compensate him for his damages he sustained,

attorneys’ fees, costs, punitive and exemplary damages, and further relief which the

Court deems appropriate in the interest of justice.

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                                     COUNT II
                         DEFAMATION BY IMPLICATION
                       (Against Defendant Linder, Individually)

      93.      Dr. Brown repleads all allegations asserted in all paragraphs as if fully

set forth herein.

      94.      Dr. Brown alternatively asserts a claim of defamation by implication to

the extent Defendant Linder’s conduct was not within the scope of his employment

with the State of Iowa.

      95.      Before Dr. Brown filed this lawsuit, Dr. Brown, though counsel, sent

Defendant Linder a cease-and-desist letter pertaining to defamatory statements

concerning Dr. Brown.

      96.      Upon receiving the cease-and-desist letter, Defendant Linder asked

attorneys employed by University of Iowa to represent and defend him in this dispute

with Dr. Brown.

      97.      The State of Iowa, through the department of legal affairs at the

University of Iowa, stated it would not represent Defendant Linder because it was

determined that Defendant Linder acted in an individual capacity and outside the

scope of his employment as a University of Iowa professor when he disseminated the

allegedly false and defamatory statements about Dr. Brown.

      98.      Defendant Linder made statements of and concerning Dr. Brown to one

or more third persons, including statements published in newspapers across Eastern

Iowa that were false by implication, including the following:

            a. That Dr. Brown testified about the OSHA standard requiring employers

               to provide prompt access to bathroom facilities;

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            b. That Dr. Brown would agree to unleash terrible consequences for 100

                 million workers for his own financial gain;

            c. That physicians like Dr. Brown who testify truthfully are unethical and

                 have a conflict of interest when called to testify as an expert by a party

                 against whom the State of Iowa;

            d. That Dr. Brown was not qualified to testify as an expert in the Swift

                 case;

            e. That Dr. Brown is an expert who was not impartial;

            f.   That Dr. Brown was willing to deceive factfinders by offering and, if

                 necessary, testify, to whatever expert opinion that advances the hiring

                 attorney’s case theory;

            g. That Dr. Brown lacked the qualifications necessary to testify as an

                 expert in urology in the Swift case; and

            h. That Dr. Brown subordinated ethics for his own financial gain.

      99.        Defendant    Linder’s     false    statements   were   made   intentionally,

maliciously, and with reckless disregard of Dr. Brown’s rights.

      100.       For purposes of the allegations contained in this Count, Defendant

Linder’s false statements were made while he was acting outside the scope of his

employment with the University of Iowa.

      101.       Plaintiff was defamed and damaged in name and reputation.

      102.       Accordingly, Defendant Linder is liable for the damages suffered by Dr.

Brown.



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      WHEREFORE, Dr. Brown prays for judgment against the Defendant in an

amount which will fully and fairly compensate him for his damages he sustained,

attorneys’ fees, costs, punitive and exemplary damages, and further relief which the

Court deems appropriate in the interest of justice.

                                    COUNT III
                              DEFAMATION PER SE
                      (Against Defendant Linder, Individually)

      103.    Dr. Brown repleads all allegations asserted in all paragraphs as if fully

set forth herein.

      104.    Dr. Brown alternatively asserts a claim of defamation per se to the

extent Defendant Linder’s conduct was not within the scope of his employment with

the State of Iowa.

      105.    Defendant Linder made multiple statements about Dr. Brown while to

one or more third parties regarding Dr. Brown’s business and professional

competence, ethics, and medical expertise.

      106.    The statements were false.

      107.    For purposes of the allegations contained in this Count, Defendant

Linder’s false statements were made while he was acting outside the scope of his

employment with the University of Iowa.

      108.    The statements injured Dr. Brown’s business and professional

reputation.

      109.    The false statements were made intentionally, maliciously, and with

reckless disregard of Dr. Brown’s rights.




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      110.   Accordingly, Defendant Linder is liable for the damages suffered by

Brown.

      WHEREFORE, Dr. Brown prays for judgment against the Defendant in an

amount which will fully and fairly compensate him for his damages he sustained,

attorneys’ fees, costs, punitive and exemplary damages, and further relief which the

Court deems appropriate in the interest of justice.

                                    COUNT IV
                                  DEFAMATION
                      (Against Defendant Linder, Individually)

      111.   Dr. Brown repleads all allegations asserted in all paragraphs as if fully

set forth herein.

      112.   Dr. Brown alternatively asserts a claim of defamation to the extent

Defendant Linder’s conduct was not within the scope of his employment with the

State of Iowa.

      113.   Defendant Linder repeatedly made statements of and concerning Dr.

Brown to one or more third persons.

      114.   The statements were false.

      115.   For purposes of the allegations contained in this Count, Defendant

Linder’s false statements were made while he was acting outside the scope of his

employment with the University of Iowa.

      116.   The statements caused material harm to Dr. Brown.

      117.   The false statements were made intentionally, maliciously, and with

reckless disregard of Dr. Brown’s rights.




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      118.   Accordingly, Defendant Linder is liable for the damages suffered by Dr.

Brown.

      WHEREFORE, Dr. Brown prays for judgment against the Defendant in an

amount which will fully and fairly compensate him for his damages he sustained,

attorneys’ fees, costs, punitive and exemplary damages, and further relief which the

Court deems appropriate in the interest of justice.

                                   COUNT V
                     FALSE LIGHT INVASION OF PRIVACY
                     (Against Defendant Linder, Individually)

      119.   Dr. Brown repleads all allegations asserted in all paragraphs as if fully

set forth herein.

      120.   Dr. Brown alternatively asserts a claim of false light invasion of privacy

to the extent Defendant Linder’s conduct was not within the scope of his employment

with the State of Iowa.

      121.   Defendant Linder made statements of and concerning Dr. Brown to one

or more third persons.

      122.   The statements and published information portrayed Dr. Brown in a

false and misleading light.

      123.   For purposes of the allegations contained in this Count, Defendant

Linder’s false statements were made while he was acting outside the scope of his

employment with the University of Iowa.

      124.   The information was highly offensive to a reasonable person.

      125.   Defendant Linder published the information with reckless disregard to

its offensiveness.

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      126.   The publications injured Dr. Brown’s professional reputation.

      127.   Defendant Linder’s statements were the proximate cause of the

damages sustained by Dr. Brown.

      WHEREFORE, Dr. Brown prays for judgment against the Defendant in an

amount which will fully and fairly compensate him for his damages he sustained,

attorneys’ fees, costs, punitive and exemplary damages, and further relief which the

Court deems appropriate in the interest of justice.

                                   COUNT VI
                             INJUNCTIVE RELIEF
        (Against Defendant Linder in his Individual and Official Capacities)

      128.   Dr. Brown repleads all allegations asserted in all paragraphs as if fully

set forth herein.

      129.   Defendant Linder in performing the conduct complained of herein acted

willfully and with intent to injure Dr. Brown.

      130.   Defendant Linder threatens so, and unless restrained, will continue to

engage in the wrongful and tortious acts described herein.

      131.   Accordingly, Dr. Brown seeks injunctive relief against Defendant Linder

in his official and individual capacities for his misconduct.

      WHEREFORE, Dr. Brown prays for judgment against the Defendant

permanently enjoining him from engaging in the wrongful and tortious acts described

herein, and further relief which the Court deems appropriate in the interest of justice.

                                   JURY DEMAND

      Dr. Brown requests a trial by jury on all issues properly triable thereto.



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                                             Respectfully submitted,

                                             /s/Scott M. Wadding
                                             Scott M. Wadding AT0010447
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                               Certificate of Service

       I hereby certify that on August 23, 2021, I presented the foregoing document
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